                     Case 7:24-cv-02333-PMH                                               Document 23                                  Filed 09/03/24                                  Page 1 of 2
                                                                                                                       File#
                                                !SOUTHERN DISTRICT                                              Index/case # !24-CV-02333(PMH)
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          _s_ 1c T_ ____1court
           _R



                          PERL FELBERBAUM                                                                                                                  AFFIDAVIT OF SERVICE
                              Plaintiff
                        YAAKOV FELBERBAUM

                                Defendant



Isays: KINGS
       Deponent
                 !County, Sate of: !NEW YORK
                is not a party herein; is over the age of
                                                           1
                                                          18 years and
                                                                      _LCA
                                                                        resides
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 On:   j August 30, 2024                         !8:27AM !am/pm aqao MERON PLACE, MONSEY, NEW YORK 10952

 Deponent served the within                          SUMMONS WITH AMENDED COMPLAINT PETITION AND EXHIBITS

 On: !Y AAKOV FELBERBAUM                                                                                         (herein after called the recipient) therein named.

CJ1ndividual                     By delivering a true copy of each to said recipient personally; Deponent knew the person so served to be the person
                                 described in as said recipient therein

�Suitable Age                    by delivering thereat a true copy of each to                         J ,IANF DOE                                                               I      a person of suitable age
           person                and discretion. Said premises is defendants                          Q      Actual Place of Residence                      D Actual Place of Business within the State
C]Affixing to Door               By affixing a true copy of each to the door of said premises which is defendants
                                C]Actual Place of Residence            Actual Place of Business. within the State
                                                                                  D
                                Deponent was unable with due diligence to find defendant or person of suitable age and discretion thereat having called
                                there

CJcorporation or                 by delivering thereat a true copy of each to '---------------' personally. Deponent knew said corporation
          Partnership            I partnership so served to be the corporation/partnership described in said aforementioned document as said defendant and
                                 knew said individual to be               I                               thereof.                        I
�          Mailing               Within 20 days of such delivery, or affixing, deponent enclosed a copy of same in a postpaid envelope properly addressed to

                                   r=""-'c;__::=,;.:.::;:c..:.:..::...:..:=.:...:.::..:.::..:.:.c:c.,__.....,,_.:....::::=c.:....c==:...:::.:..:...:..====.:...--.J'---'-_;_A.::c.::
                                                                                                                                                                                  tual Place of Business,




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                                 and deposited said envelope in an official depository under the exclusive care and custody of the U.S. Postal Service within
                                 New York State. The envelope bore the legend "personal and confidential" and did not indicate on the outside, thereof by


[Doescription
                                 return address or ott1erwise that the communication was from an attorney or concerned an action against the defendant.
                                G]Male
                                0Female
                                                                       white skin   b!.ick hair
                                                                       black skin B brown hair
                                                                                                                                              14-20 Yrs
                                                                                                                                              21-35 Yrs
                                                                                                                                                                    §        Under5'
                                                                                                                                                                             5'0"- 5'3 "
                                                                                                                                                                                                            Under 100 Lbs
                                                                                                                                                                                                            100-130 Lbs
                                                                       yellow skin  gray hair                                                 36-50 Yrs                      5'4'"-5'8"                     131-160 Lbs
                                                                       brown skin   blonde hair
                                                                                           D                                                  51-65 Yrs             W5'9"-B'O"                              161-200 Lbs
                                                                       red skin     red hair
                                                                                           D                                                  Over 65 Yrs           DOver 6'                                Over 200 Lbs

                                 Other Identifying Features
                                                                              WOIILD I\IOI GIVE I\IAME Bl IIWII I GIVE DOC!IMEI\IIS IO YAAKOV
LJMilitary Service               I asked the person spoken to whether defendant was in active military service of the United States or the State of New York
                                 in any capacity whatever and received a negative reply. The source of my information and the grounds of my belief are the
                                 conversations and observations .ibove n.irrated.


D            Subpoena Fee Tendered in the amount of

D
 Sworn to before me on




                       Menachem White
                Notary Public, State of New York
                   Reg. No.02WH6241478
                  Qualified in Nassau County
                Commission Expires 05/23/2027
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